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            EXHIBIT 13
                   Case 3:23-cv-03007-VC         Document 84-15         Filed 09/16/24      Page 2 of 2




To:        Lauren Wegman[lwegman@twitter.com];                                             Sommer[nsommer@twitter ,00 m];
                  Wegman[Iwegman@twittercom]; Yabre Kompaore[ykompaore@twitter.com]; Nikki Sommer[nsommer@twitter.com];
      Schobinger[mschobinger©twitter.com]; Lindsay Chapman[Ichapman@twitter.com]
Mark Schobinger[mschobinger@twitter.com];          Chapman[Ichapman@twitter.com]
From:           Schobinger[mschobinger©twitter,com]
           Mark Schobinger[mschobinger@twitter.com]
Sent:           1/19/2023 12:20:12
           Thur 1/19/2023  12:20:12 AM (UTC)
Subject: FY22
Subject:   FY22 PBP
                 PBP follow
                      follow up
                             up


 Team-
IIupdated the FY22 PBP recommendation to address concerns raised when we met last week. Essentially II
have restructured the approach to solve for two decisions that are needed:

      ••Do we fund aabonus pool?
      ••And if we do fund, how should we allocate?

 To be clear, Elon owns answering the first question. He can answer it in one of two ways - exercise discretion
                                                                                                      -




 and not
 and  not fund
           fund or
                 or allow the plan
                                 plan to fund at 50%.
 The allocation
 The  allocation question
                   question is is aaphilosophical
                                    philosophical position - treat everyone the same because of an extraordinary
                                                         -




 year, or
 year,  or allow
           allow differentiated bonuses. I've captured the essence of what we discussed without getting deep
 into the rating points we discussed. IIdon't feel the need to get deep into it as it's aasolvable issue and we have
 time to
 time  to figure
          figure it
                  it out
                     out if
                         if he
                            he funds
                                funds aabonus.
                                         bonus. For example, we
                                                For example,   we talked
                                                                   talked about
                                                                          about when
                                                                                when QCI
                                                                                     QCI ratings
                                                                                          ratings would
                                                                                                  would be
                                                                                                        be needed.
                                                                                                           needed.
 But for the 22decisions we need, that detail is not necessary as it doesn't add to what needs to get decided
 right now.
 right now. Likewise, I    I refrained from putting in the accrued $$amount the finance has on the books that II
 shared when we met - that detail is not needed, and in fact will change as we have additional attrition. Elon
                        -




 will conceptually understand the pool is predicated on the number of participants, and as that number
 dwindles, so
 dwindles,    so too
                 too will the bonus pool number. So no need to overtly call it out for what we need right now.

Please have
Please have aalook
              look at
                    at the updated version, and provide additional feedback by the
                                                                               the end of this week. Based on
what you
what you add, I'll schedule time for us to re-group.

https ://docs google. cornldocument/dl 14vRAFAbs2Bt5Lpj SB 99K5GeDBwkwccIGG 17TFLqocKA/edit?usp=s
https://docs.google.com/document/d/14vRAFAbs2Bt5LpjSB99K5GeDBwkwccIGG17TFLqocKA/edit?usp=s
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m

Regards,
Mark


Mark Schobinger II
                 Head of Compensation




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                                                                                         EXHIBIT  _II__
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                                                                                                           CRR, RmR
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                CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER
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